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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA )
)
Vv. ) Cr. No. 18-10450-MLW

)
ERICK LOPEZ FLORES, )
HENRI SALVADOR GUTIERREZ, )
ELISEO VAQUERANO CANAS, )
JONATHAN TERCERO YANES, )
MARLOS REYES, and )
DJAVIER DUGGINS, )
Defendants. )

ORDER
WOLF, D.J. November 23, 2020

As discussed at the November 19, 2020 hearing, which was
closed to the public, it is hereby ORDERED that:

1. Counsel for Henri Salvador Gutierrez shall file his
motion to suppress by December 3, 2020.

2. If any co-defendant wishes to join Salvador Gutierrez's
motion to suppress, or file a motion in limine related to it, he
shall file his motion by December 8, 2020.

3. The government shall respond to defendants' motions by
December 22, 2020.

4. Any reply shall be filed by January 6, 2021.

5. Counsel for each defendant and the government shall
confer and, by December 15, report whether an agreement has been
reached to resolve the case with respect to each defendant.

6. Hearings on all pending motions shall begin on January

19, 2021, and continue from day to day until concluded.
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UNITED SHATES DISTRICT JUDGE
